                Case 1:20-cv-08325-JMF Document 10 Filed 11/23/20 Page 1 of 1



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November 23, 2020



BY ECF

Hon. Jesse M. Furman, U.S.D.J.
United States District Court for
  the Southern District of New York
40 Centre Street
New York, New York 10007

Re:         Moshik Nadav Typography LLC v. Banana Republic, LLC,
            No. 1:20-cv-08325-JMF (S.D.N.Y.) (BRAP 1809848)

Dear Judge Furman:

We are counsel to defendant Banana Republic, LLC (“Banana Republic”) in the above-
referenced action. Pursuant to Section 1.E of Your Honor’s Individual Practices, we write to
request a two-week extension of time for Banana Republic to answer or otherwise move with
respect to the Complaint, from December 1, 2020 up to and including December 15, 2020, due to
the upcoming Thanksgiving holiday and other urgent matters being handled by the undersigned.
This is the first request for an extension of time and no other dates are affected. Plaintiff’s
counsel Joshua Levin-Epstein consents to this request.

We appreciate the Court’s attention to this matter.

Respectfully submitted,



James D. Weinberger

cc:         Counsel of record (by ECF)




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